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                                        EXHIBIT B




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF MARYLAND

                                        (Greenbelt Division)

                                                    )
In re:                                              )   Chapter 11
                                                    )
KH FUNDING CO.,                                     )   Case No. 10-37371 (TJC)
                                                    )
                             Debtor.                )
                                                    )

     NOTICE OF CERTAIN RELIEF REQUESTED IN CONNECTION WITH POST-
          CONFIRMATION DEBTOR’S CHAPTER 11 FINAL REPORT AND
      MOTION FOR ORDER (A) ENTERING FINAL DECREE, (B) APPROVING
      DISTRIBUTIONS TO UNSECURED CREDITORS, (C) AUTHORIZING THE
        ABANDONMENT OF CERTAIN PROPERTY, (D) AUTHORIZING THE
         ABANDONMENT AND DESTRUCTION OF CERTAIN DOCUMENTS
             AND RECORDS, AND (E) GRANTING RELATED RELIEF


        PLEASE TAKE NOTICE THAT on July 15, 2022, the above-captioned Debtor filed its
Post-Confirmation Debtor’s Chapter 11 Final Report and Motion for Order (A) Entering Final
Decree, (B) Approving Distributions to Unsecured Creditors, (C) Authorizing the Abandonment
of Certain Property, (D) Authorizing the Abandonment and Destruction of Certain Documents
and Records, and (E) Granting Related Relief (the “Motion”). A full copy of the Motion may be
requested from undersigned counsel and is available at the creditor site maintained at
https://www.pszjlaw.com/creditor-32.html. Any objection to the relief requested in the
Motion must be delivered to undersigned counsel on or before the date that is 14 days after
this Notice.

       PLEASE TAKE FURTHER NOTICE THAT, in accordance with the Motion and the
confirmed Third Amended Joint Plan of Liquidation of KH Funding Company and the Official
Committee of Unsecured Creditors (the “Plan”), the Debtor anticipates making distributions to
unsecured creditors, including Class 9 General Unsecured creditors and to the Series 3 Trustee
on account of Class 7 Series 3 Note Claims. Distributions are expected to be approximately
4.99% of allowed claims. Because the Series 3 Trustee is entitled to deduct its fees and expenses
before distributing the remaining amount, if any to the beneficial holders of Series 3 Notes, that
Debtor cannot predict what, if anything, may be recovered by the beneficial holders of Series 3
Notes.

       PLEASE TAKE FURTHER NOTICE THAT the Debtor has identified certain assets,
including unsecured claims, second and third priority loans, uncollectible judgments, and other

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assets appearing on the Debtor’s books and records (the “Assets”) that the Debtor has been
unable to sell or for which it has otherwise been unable to obtain any value. A description of the
Assets appears on Attachment 1 to this Notice. The Motion seeks authority to abandon the
Assets.

         PLEASE TAKE FURTHER NOTICE THAT if any party wishes to make an offer for
purchase of any or all of the Assets, such offer must be received by undersigned counsel in in
writing within 14 days of the date of this Notice. The Debtor retains sole authority to accept,
reject, or negotiate any offer, including, without limitation, to decline to enter any transaction
because the cost of doing so will exceed the benefit thereof. Any Assets as to which no written
offers are received within 14 days of the Notice, and any assets as to which the Debtor
determines no transaction is warranted, will be abandoned by order of the Court.

        PLEASE TAKE FURTHER NOTICE THAT in accordance with the terms of the Plan,
the Plan Administrator is entitled to certain exculpation and a releases, which will be ratified in
connection with the Motion.

Dated: July 15, 2022
                                            PACHULSKI STANG ZIEHL & JONES LLP
                                            Bradford J. Sandler (Bar No. 4142)
                                            Michael R. Seidl (Bar No. 3889)
                                            919 North Market Street, 17th Floor
                                            P.O. Box 8705
                                            Wilmington, DE 19899-8705 (Courier 19801)
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                                            E-mail: bsandler@pszjlaw.com
                                                     mseidl@pszjlaw.com

                                            and

                                            BARNES & THORNBURG LLP


                                            _/s/ James E. Van Horn_____________________
                                            James E. Van Horn (Bar No. 29210)
                                            Barnes & Thornburg LLP
                                            1717 Pennsylvania Avenue, N.W.
                                            Suite 500
                                            Washington, D.C. 20006-4623
                                            Telephone: 202-371-6351
                                            Facsimile: 202-289-1330
                                            E-mail: jvanhorn@btlaw.com

                                            Counsel to the Post-Confirmation Debtor



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                                     ATTACHMENT 1




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                                                  KH Funding Company / Ch. 11 #10-37371


                                                     List of Remaining Assets as of 05/01/2022

            Principal                                                                                                    Description
                         Borrower / Guarantor
            Balance                                     Secured /                                       (All loans are in default-judments as noted)
Account #                 (Names shown only for
              as of                                  Unsecured Status                     B=Borrower, G=Guarantor, DOT= Deed of Trust, SOFA = Schedule of Assets
                           judgments of record)
            05/01/22

                                                                                    2nd lien DOT in MD behind original 1st lien of $302,000; last payment date 8/17/09;
11530236    $190,206                                     Secured
                                                                                                maturity date 11/1/09; B claims setoff - potential litigation

                                                                                     2nd lien DOT in NC behind original 1st lien of $77,400; last payment date 03/27/08;
11523848      $3,730                                     Secured
                                                                                                                  maturity date 2/1/14

                                                                                                                     Unsecured Note;
11530380    $2,970,290                                  Unsecured
                                                                                                         See MD Ch. 7 #10-18008; B discharged 2011

                                                                                              Former 2nd lien DOTs wiped out in '10 and '11 foreclosure sales;
11530384    $2,860,206                                  Unsecured
                                                                                                       See MD Ch. 7 #10-18008; B discharged 2011

                                                                                                                      Unsecured Note;
11530382    $640,749                                    Unsecured                                               See MD Ch. 11 #11-14033;
                                                                                                   Remaining collateral liquidated 2018 as per Ch. 11 Plan

                                                                                    49.89% loan participation interest; lead lender retained all proceeds form short payoff
11994946    $476,885                                    Unsecured
                                                                                                     in 2015 citing setoff claims; lead is a private lender

                                                                                                                     Unsecured Note;
11530372    $455,353                                    Unsecured
                                                                                                         See MD Ch. 7 #10-18008; B discharged 2011

  1104-
                                                                                                                    Unsecured Note;
DEFAULT     $268,230                                    Unsecured
                                                                                                        See MD Ch. 7 #10-18008; B discharged 2011
  INT.

                                                                                                                     Unsecured Note;
11530233    $238,410                                    Unsecured
                                                                                                         See MD Ch. 7 #10-18008; B discharged 2011

                                                                                                                Listed on KH CH 11 SOFA -
11570063    $220,493                                    Unsecured
                                                                                                                KH released B and G in 2007

                                                                                                               Listed on KH CH 11 SOFA;
11570041    $177,958                                    Unsecured
                                                                                         KH released B and G via MD deed in lieu of foreclosure transaction in 2007

                                                                                                   Former 2nd lien DOT wiped out in '16 foreclosure sale;
11530392    $144,004                                    Unsecured
                                                                                                     See MD Ch. 7 #11-07460; Bs discharged 02/29/12

                                                                            VA Judgement (State Court) dated 04/10/09 against former corporate entity; Deficiency against B from
11530282    $140,946      A.W. GARNER, INC.             Unsecured
                                                                                      VA 2nd lien foreclosure in '11; See VA Ch. 11 #08-261444 dismissed 08/28/09

                                                                                                      MD Judgment (US District Court) dated 11/18/15;
            $134,717       ESCOBAR, AIDA                Unsecured
                                                                                                         See MD Ch. 13 #13-21377 dismissed 2014

                                                                                       23.85% loan participation interest; lead lender retained all proceeds from payoff
11994883    $131,848                                    Unsecured
                                                                                                    in 2015 citing setoff claims; lead is a private lender

                                                                                                MD Stipulated Judgment (US District Court) dated 01/20/16;
            $100,000      HARRIS, ROBERT                Unsecured
                                                                                                                See Md Ch. 7 #13-12828

                                                                                                               Listed on KH CH 11 SOFA;
11570058     $89,032                                    Unsecured
                                                                                         KH released B and G via MD deed in lieu of foreclosure transaction in 2007


11994884     $82,102      KASPI, KIMBERLY               Unsecured                                        MD Judgment (State Court) dated 12/09/13


                                                                                                   Former 2nd lien DOT wiped out in '10 foreclosure sale;
11994899     $80,081                                    Unsecured
                                                                                                                 last payment date 10/9/07

                                                                                                   Former 2nd lien DOT wiped out in '10 foreclosure sale;
11530394     $68,716                                    Unsecured
                                                                                                        See VA Ch. 13 #12-11198 dismissed 2012

                                                                                                   Former 2nd lien DOT wiped out in '08 foreclosure sale;
11994896     $55,387                                    Unsecured
                                                                                                                last payment date 02/04/11

                                                                                      25% loan participation interest; lead lender retained all proceeds from liquidated
11880016     $44,490                                    Unsecured
                                                                                                   collateral citing setoff claims; lead is a private lender

                                                                                                                          Unsecured;
11610002     $41,157                                    Unsecured
                                                                                                             deficiency from IN short sale in 2010


11540021     $37,300                                    Unsecured                               KH executed IN deed in lieu of foreclosure transaction in 2009



11540020     $33,849                                    Unsecured                               KH executed IN deed in lieu of foreclosure transaction in 2009




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                                                  KH Funding Company / Ch. 11 #10-37371


                                                     List of Remaining Assets as of 05/01/2022

            Principal                                                                                              Description
                         Borrower / Guarantor
            Balance                                     Secured /                                 (All loans are in default-judments as noted)
Account #                 (Names shown only for
              as of                                  Unsecured Status               B=Borrower, G=Guarantor, DOT= Deed of Trust, SOFA = Schedule of Assets
                           judgments of record)
            05/01/22

                                                                                              Former 2nd lien DOT wiped out in '15 foreclosure sale;
11530369     $29,703                                    Unsecured
                                                                                                    last payment date 10/09/07; B deceased

                                                                                                                 Unsecured Note;
11140401     $27,960                                    Unsecured
                                                                                 MD State Court ruled B is not personally liable under the loan documents in 2015

                                                                                                    Unsecured Note; See VA Ch. 7 #07-11432;
11530154     $26,378                                    Unsecured
                                                                                                      B discharged 2007; Co-B is deceased

                                                                                                  Former 2nd lien DOT avoided in Ch. 13 case;
11994910     $25,643                                    Unsecured
                                                                                                          See MD Ch. 13 #17-10066

                                                                                           Deficiency from IL 2nd lien wiped out in '13 foreclosure sale;
11530396     $24,663                                    Unsecured
                                                                                                            last payment date 04/09/10

                                                                                                   See MD Ch. 7 #17-14062; B discharged 2017;
11530344     $21,940                                    Unsecured
                                                                                                          last payement date 07/17/06

                                                                                                    Unsecured Note from short payoff in 2008;
11880018     $20,000                                    Unsecured
                                                                                                          last payment date 06/24/09

  SCH
             $20,000                                    Unsecured                                Listed on KH CH 11 SOFA; no loan documents
  B-16

                                                                                                                 Unsecured Note;
11560205     $19,812                                    Unsecured
                                                                                                            last payement date - none

                                                                                              Former 2nd lien DOT wiped out in '16 foreclosure sale;
11530334     $11,435                                    Unsecured
                                                                                                See MD Ch. 7 #03-17599; last payment date - none

                                                                                                   Former 2nd lien DOT avoided in Ch. 13 case;
11523891     $11,309                                    Unsecured
                                                                                                           See NC Ch. 13 #18-30355

                                                                                                 Unsecured Note; loan documents are defective;
1530077      $9,207                                     Unsecured
                                                                                                          last payment date 09/27/10

                                                                                                            See MD Ch. 13 #18-2014;
11994869     $9,171                                    Unsecured*
                                                                                                    *unreleased 1st lien from 2005 short payoff

                                                                                              Former 2nd lien DOT wiped out in '14 foreclosure sale;
11990332     $5,979                                     Unsecured
                                                                                                           last payment date 01/09/12

                                                                                                                  Unsecured Note;
11530243     $5,914                                     Unsecured
                                                                                                            last payment date 05/27/10

                                                                                                 Unsecured Note from NC short payoff in 2011;
11990598     $4,942                                     Unsecured
                                                                                                          last payment date 03/15/12

                                                                                                               Unsecured Note;
11530363     $3,550                                     Unsecured
                                                                                                   See MD Ch. 7 #13-14920; B discharged 2013

                                                                                      Former 2nd lien DOT avoided in Ch. 13 case; See IL Ch. 13 #04-35068;
11994849     $2,846                                     Unsecured
                                                                                                Loan was paid in full as per Ch. 13 plan in 2009

                                                                                                              Unsecured Note;
11530391     $2,406                                     Unsecured
                                                                                            Loan documents are defective; last payment date 03/01/10

                                                                                                                Unsecured Note;
11530140     $1,438                                     Unsecured
                                                                                                     last payment date 3/22/12; B is deceased

                                                                                                                 Unecured Note;
10270113       $68                                      Unsecured
                                                                                                   last payment date - no record; B is deceased


            $9,970,502       Total Amonnt

               46             Total Loans




                                                                        2
